          Case 18-50940-grs      Doc 92  Filed 11/06/18 Entered 11/06/18 08:40:25                 Desc Main
                                         Document      Page 1 of 1
                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF KENTUCKY
                                            LEXINGTON DIVISION
   In Re:                                                                             Case No. 18-50940
   Justin David Bell & Connie Duncan Bell
   Debtor                                                                             Chapter 13

                                      CHAPTER 13 TRUSTEE'S
                             ORDER DIRECTING EMPLOYER TO MAKE WAGE
                              DEDUCTIONS FOR REMITTANCE TO TRUSTEE
   To Employer of:     Connie Duncan Bell                          SS: # ___________________
                       ALLERGY PARTNERS PA
                       ATTN: PAYROLL DEPARTMENT
                       1606 US HWY 27N
                       CYNTHIANA KY 41031-0000

          Future earnings of the above-named employee are subject to the continuing supervision and control of
   the court for the purpose of enforcing the terms of the chapter 13 plan herein.

          THEREFORE, the employer is hereby ordered to deduct the sum of $555.62 monthly from earnings of
   the employee, beginning with the next pay period following receipt of this ORDER. The employer must make
   the deductions on a bi-weekly, semi-monthly or weekly basis according to the employee 's pay schedule.

          The employer shall continue said deduction until further order and shall remit any monies
   withheld at least monthly, or more frequently if convenient, to the Chapter 13 Trustee whose address
   appears below. If the earnings are less than the amount ordered, the entire earnings shall be remitted.
   THE EMPLOYEE'S FULL NAME AND CASE NUMBER MUST APPEAR ON THE PAYMENT.

           During this proceeding, the earnings of the employee shall be exempt from garnishments or
   attachments issued from any other court for the collection of debts contracted before or after the
   commencement of this proceeding. The employer shall not honor any levies for the collection of state or federal
   taxes or make deductions for any credit unions. This order does not prohibit the employer from honoring state
   court orders for wage assignments for current child or spousal support.

            This ORDER shall not constitute grounds for the dismissal of the employee, refusal to employ, or any
   disciplinary action or discrimination against the employee. The employer shall not charge a processing fee,
   administrative fee, or other service fee, or otherwise collect such a fee from earnings of the employee, without
   approval of the Bankruptcy Court.

          It is directed that the Chapter 13 Trustee serve copies upon the employer, debtor and the attorney for
   the debtor.
                                             Remit withholdings payable to:

                                            Chapter 13 Trustee - EDKY
                                                  PO Box 1766
                                             Memphis, TN 38101-1766
                                                  859-233-1527

    cc:     Connie Duncan Bell
            CANUPP, BRIAN T. via ECF
            ALLERGY PARTNERS PA




__________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.



                                                         Signed By:
                                                         Gregory R. Schaaf
                                                         Bankruptcy Judge
                                                         Dated: Tuesday, November 06, 2018
                                                         (nbw)
